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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



 SECURITIES AND EXCHANGE                            §
 COMMISSION,                                        §
                                                    §
                Plaintiff,                          §
                                                    §
 v.                                                 §       Civil Action No. 3:16-CV-0172-L
                                                    §
 KENNETH W. CRUMBLEY, JR. and                       §
 SEDONA OIL & GAS CORPORATION,                      §
                                                    §
                Defendants.                         §

      ORDER ON RECEIVER’S FINAL REPORT AND ACCOUNTING; FINAL FEE
               APPLICATION; AND MOTION FOR DISCHARGE

        This is a civil action brought by the Securities and Exchange Commission (“SEC”) for

alleged violations of the federal securities laws. On February 21, 2016, the court issued an Order

Appointing Receiver (Doc. 14), in which it appointed Becky McGee as Receiver for Defendant

Sedona Oil & Gas Corporation (“Sedona Oil & Gas”) and Defendant Kenneth W. Crumbley, Jr.

(“Crumbley”), in contemplation of the eventual return of assets to investors harmed by the

misconduct alleged in the Complaint. On July 6, 2018, the court, following a hearing, entered its

Order Approving Receiver’s Motion to (1) Approve Plan of Distribution; and (2) Terminate the

Receivership and Discharge the Receiver. See Order (Doc. 80). Before the court is the Receiver’s

Final Report and Accounting; Final Fee Application; and Motion for Discharge, filed October 31,

2018 (Doc. 84) (the “Final Fee Application and Motion for Discharge”). After careful

consideration of the Receiver’s Final Fee Application and Motion for Discharge, including




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and Motion for Discharge – Page 1
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Exhibits A and B thereto, the record, and applicable law, the court hereby grants the Receiver’s

Final Fee Application and Motion for Discharge. It is therefore:

        Ordered that the Receiver is authorized to maintain the storage of Sedona Oil & Gas books

and records as requested by the SEC until such time as the SEC informs the Receiver the books

and records are no longer needed; it is further

        Ordered that the Receiver is authorized to fulfill her remaining ministerial duties and

maintain the Receivership bank account for the payment of the books and records storage and

destruction after final notice by the SEC; it is further

        Ordered the Receiver’s Final Accounting is approved; it is further

        Ordered that, to reduce administrative expenses, the Receiver is relieved from any further

administrative responsibilities with respect to reporting, as required in the original Order

Appointing Receiver; it is further

        Ordered that, should the SEC’s resolution of its Complaint against Defendant Crumbley

result in sufficient funds that the Receiver believes a secondary distribution would be economically

viable, that the Receiver is authorized to make a secondary distribution to the same investors

identified in Classification No. 1 and 2; it is further

        Ordered that if there are insufficient funds to make a secondary distribution economically

viable, that the Receiver is authorized to remit any remaining Receivership funds to the SEC or to

whichever governmental agency the SEC directs; it is further

        Ordered that the Receiver’s Final Fee Application is approved, and the Receiver is hereby

authorized to pay: to the Receiver the sum of $36,180 for fees for professional services rendered

during the time period of April 1, 2018, to August 31, 2018; to LSS&M the sum of $13,412.40 for

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professional services rendered and expenses incurred during the time period of April 1, 2018, to

August 31, 2018; and to Munsch Hardt Kopf & Harr, P.C. the sum of $26,964.47 for attorney’s

fees and costs for professional services rendered during the time period of April 1, 2018, to August

31, 2018.

        As the Receiver has completed all her duties, and filed her final report and accounting,

which the court has considered and approved, subject to those remaining ministerial duties

specified above, the Receiver is hereby provisionally discharged from any and all further

obligations, liabilities, or claims in regard to her duties as the court-appointed Receiver over

Sedona Oil & Gas Corporation, Kenneth W. Crumbley, Jr., or any of their affiliates or related

entities. Pursuant to paragraph 45 of the Order Appointing Receiver (Doc. 14), and the court’s

July 6, 2018 Order Approving Receiver’s Motion to (1) Approve Plan of Distribution; and (2)

Terminate the Receivership and Discharge the Receiver (Doc. 80), as the Receiver has submitted

her final report and accounting and final fee application, which the court has considered and

approved, the Receivership Estate is hereby closed, absent good cause shown.

        It is so ordered this 3rd day of January, 2019.


                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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and Motion for Discharge – Page 3
